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           EXHIBIT H
                 Case 2:23-cv-00226-DJH Document 1-9 Filed 02/03/23 Page 2 of 3




From: Brian Colvin <brian.colvin@stavatti.com>
Sent: Friday, July 1, 2022 8:10 PM
To: Vallenno Demitriov <Valentino101@msn.com>; Rudy Chacon <rudy@superiorinc.us>
Subject: Re: Project Update

Vallentino

I understand that you wanted to see the deposit of the capital invested with us. We made two. Please see the attached
deposit records from our statements. .

Please let e know if you have any questions; Have a safe 4th of July.

Kindest regards,

Brian D. Colvin

PRESIDENT of STAVATTI AEROSPACE, LTD.

CHAIRMAN & CEO of STAVATTI UAVS, LTD.


TEL: 424-501-5646
                      Case 2:23-cv-00226-DJH Document 1-9 Filed 02/03/23 Page 3 of 3
    TEL: 307-620-7261
    email: Brian.Colvin@stavatti.com
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